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 1   Jorge Alejandro Rojas
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 2   Plaintiff in Pro Se
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 3   Bolingbrook, IL 60440
     (424) 219-1582
 4

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 7

 8                      IN THE UNITED STATES DISTRICT COURT

 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   JORGE ALEJANDRO ROJAS,                     Case No.: 2:22-CV-00410-JFW-Ex
           Plaintiff,
11
                                                     NOTICE OF VOLUNTARY
           vs.                                     DISMISSAL WITH PREJUDICE
12
     LA GREEN DEVELOPMENT, INC.
13   DBA SOCAL ENERGY POWER,
14         Defendant.

15         Plaintiff, Jorge Alejandro Rojas, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

16   voluntary dismisses this action with prejudice.

17      Respectfully submitted,

18      Dated: February 9, 2022

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     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE - 1
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     Case 2:22-cv-00410-JFW-E Document 10 Filed 02/09/22 Page 2 of 2 Page ID #:68




 1                                              /s/ Jorge Alejandro Rojas
                                                JORGE ALEJANDRO ROJAS
 2                                              Rojas.jorge96@gmail.com
                                                Plaintiff in Pro Se
 3                                              557 Cambridge Way
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 5
                              CERTIFICATE OF SERVICE
 6
           The undersigned certifies that a copy of this filing was sent to Niv V.
 7
     Davidovich, counsel for Defendant, via e-mail pursuant to Fed. R. Civ. P. 5(b)(2)(E),
 8
     on the same day as filing of this document.
 9
                                                              /s/ Jorge Alejandro Rojas
10                                                        JORGE ALEJANDRO ROJAS

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     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE - 2
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